     8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 1 of 14 - Page ID # 110




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

CUSTOM HAIR DESIGNS BY SANDY,             )
LLC, and SKIP’S PRECISION WELDING,        )
LLC, on behalf of themselves and all others
                                          )                  Civil Action No.: 8:17-CV-00310
similarly situated,                       )
                                          )
                  Plaintiffs,             )
v.                                        )                  RULE 26(f) REPORT
                                          )
CENTRAL PAYMENT CO., LLC,                 )
                                          )
                  Defendant.              )
_________________________________________ )

                     JOINT PLANNING REPORT AND DISCOVERY PLAN

        Pursuant to Fed. R. Civ. P. 26(f) and this Court’s October 17, 2017 Order [Doc. No. 15],

Plaintiffs’ Counsel Eric Barton of Wagstaff & Cartmell, LLP and defense counsel Jonathan

Chally of King & Spalding LLP conferred on November 3, 2017, and hereby jointly submit their

Planning Report and Discovery Plan as follows:

I.      INITIAL MATTERS:

                A.       Jurisdiction and Venue: The defendant

                _____ does

                     X   does not

                contest jurisdiction and/or venue as to the named Plaintiffs’ claims. Defendant,
                however, does not consent to jurisdiction or venue for claims of all potential
                members of the putative class and reserves its right to contest jurisdiction or venue
                as to such claims.

                B.       Immunity: The defendant

                _____ has raised

                _____ will raise
(Rev. 6/9/11)

                                                -1-
      8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 2 of 14 - Page ID # 111




                  X will not raise

         C.     If either jurisdiction or venue is being challenged, or if a defense of immunity will
                be raised, state whether counsel wish to delay proceeding with the initial phases of
                discovery until those issues have been decided, and if so, state (i) the earliest a
                motion to dismiss or transfer will be filed, and (ii) what, if any, initial discovery,
                limited to that issue, will be necessary to resolve the motion. Defendant does not
                wish to delay proceedings to address jurisdiction or venue issues related to claims
                of potential members of the putative class.

         D.     Rule 11 Certification: As a result of further investigation as required by Fed. R.
                Civ. P. 11, after filing the initial pleadings in this case, the parties agree that the
                following claims and defenses raised in the pleadings do not apply to the facts of
                this case, and hereby agree the court may dismiss or strike these claims and
                defenses at this time (an order adopting this agreement will be entered).
                N/A.

II.      CLAIMS AND DEFENSES:

                A.     Plaintiffs’ Claims, Elements: The elements of the plaintiffs’ claims and the
                elements disputed by defendant are as follows. For each claim, list and number
                each substantive element of proof. (DO NOT repeat boilerplate allegations from
                pleadings):

                               1)      CLAIM ONE: BREACH OF CONTRACT AND BREACH
                                       OF THE COVENANT OF GOOD FAITH AND FAIR
                                       DEALING.

                       Elements: Under Nebraska law, breach of contract requires: (1) the
                       existence of a promise, (2) its breach, (3) damage, and (4) compliance with
                       any conditions precedent that activate the opposing party's
                       duty. See Henriksen v. Jim's Body Shop, 643 N.W.2d 652, 658 (Neb.
                       2002). The implied covenant of good faith and fair dealing exists in
                       every contract and requires that none of the parties to the contract do
                       anything which will injure the right of another party to receive the benefit
                       of the contract. Coffey v. Planet Grp., Inc., 845 N.W.2d 255, 263 (Neb.
                       2014). The covenants are measured by the justifiable expectations of the
                       parties. Id. Where one party acts arbitrarily, capriciously, or unreasonably,
                       that conduct exceeds the justifiable expectations of the second party. Id.

                       Plaintiffs’ Factual Application: Plaintiffs, and others similarly situated,
                       entered into Merchant Processing Application & Agreements with
                       Defendant CPAY which established a pricing methodology for credit card
(Rev. 6/9/11)

                                                 -2-
  8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 3 of 14 - Page ID # 112




                       transactions, miscellaneous fees, and card association fees. Defendant
                       breached its contracts with Plaintiffs, including the covenant of good faith
                       and fair dealing, in ways common to all members of the putative class,
                       when Defendant unilaterally increased rates and fees and debited
                       unauthorized monies from Plaintiffs’ accounts. Specifically, Defendant
                       engaged in a pattern and practice that inflated the applicable discount rates,
                       enlarged card association fees, and added additional fees which were not
                       disclosed by Defendant, were concealed from Plaintiffs through
                       Defendant’s deceptive practices, and were not otherwise agreed to by
                       Plaintiffs. Plaintiffs have sustained damages for Defendant’s charges in
                       excess of the agreed upon rates and fees. Plaintiffs will, on behalf of the
                       putative class, be able to prove the fact of injury and damages to the class
                       on a class-wide basis with evidence common to the class.

                       Defendant’s Response: Defendant disputes these allegations and Plaintiffs’
                       contention that they can establish any element of their asserted claims for
                       breach of contract (or breach of the covenant of good faith and fair
                       dealing). Even if, as Plaintiffs contend, they entered into agreements with
                       Defendant for payment processing services, Defendant in no way charged
                       Plaintiffs fees that were inconsistent with the parties’ agreements or
                       otherwise breached any promise reflected in such agreements. Defendant
                       further disputes that it concealed or inflated any fees charged to Plaintiffs,
                       or that Defendant took any action leading to a breach of the covenant of
                       good faith and fair dealing. Moreover, Plaintiffs cannot establish their
                       compliance with contractual provisions that would be necessary for them to
                       recover on their claims. This includes, but is not limited to, Plaintiffs
                       failure to comply with contractual notice requirements. Defendant also
                       disputes that Plaintiffs suffered any injury or damages as a result of an
                       alleged breach by Defendant.

                       Beyond the deficiencies of the asserted individual claims, Defendant
                       disputes Plaintiffs’ contention that this case can be pursued as a class action
                       pursuant to Rule 23 of the Federal Rules of Civil Procedure. Among other
                       deficiencies in their attempt to proceed on a class basis, Plaintiffs will not
                       be able to establish that issues common to the putative class predominate
                       over individualized issues or that there is a common methodology for
                       determining injury and damages to the putative class. For these and other
                       reasons, Plaintiffs will not be able to establish the requirements to certify a
                       class under Rule 23.

                B.      Defenses. The elements of the affirmative defenses raised by the pleadings
                are as follows. List each affirmative defense raised or expected to be raised by the
                defendant(s), and the substantive elements of proof. (DO NOT repeat boilerplate


(Rev. 6/9/11)

                                                -3-
  8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 4 of 14 - Page ID # 113




                allegations from pleadings or deny matters on which the plaintiff has the burden of
                proof):

                              1)      DEFENSE ONE: FAILURE TO STATE A CLAIM

                       Discussed above because Plaintiffs bear the burden of proof to establish
                       their claims.

                              2)      DEFENSE TWO: CLAIMS BARRED BY CONTRACT

                       Discussed above because Plaintiffs bear the burden of proof to establish
                       their claims, including their compliance with contractual obligations
                       necessary to proceed on a claim for breach of contract.

                              3)      DEFENSE THREE: STATUTE OF LIMITATIONS OR
                                      LACHES

                       Unless otherwise agreed, a claim for breach of contract under Nebraska law
                       is barred as untimely when it is brought more than five years after the
                       alleged breach occurs. See Nat’l Bank of Commerce Trust & Savings Ass’n
                       v. Ham, 592 N.W.2d 477, 479 (Neb. 1999). Independent of the statute of
                       limitations, courts also have the inherent power to refuse relief after undue
                       and inexcusable delay in bringing suit. Ohio Nat’l Life Ins. Co. v. Rust, 585
                       N.W.2d 438, 442 (Neb. 1998). Here, although Plaintiffs contend that they
                       have timely asserted their claims for purported breach of contract,
                       Defendant is preserving its right to contest Plaintiffs’ claims, or the claims
                       of potential members of the putative class, to the extent that the evidence
                       establishes these claims to be untimely.

                              3)      DEFENSE FOUR: WAIVER

                       A defendant who claims waiver must show “an intentional relinquishment
                       of a known right” involving both (1) knowledge of the existence of the
                       right and (2) the intention to relinquish it. Barrett v. Reynolds, 2013 WL
                       12108064, at *3 (D. Neb. Feb. 25, 2013). Defendant is preserving its right
                       to contest Plaintiffs’ claims, or the claims of potential members of the
                       putative class, to the extent that the evidence establishes that these claims
                       are barred by the doctrine of waiver.




(Rev. 6/9/11)

                                                -4-
  8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 5 of 14 - Page ID # 114




                         4)      DEFENSES FIVE AND SIX: FAILURE TO MITIGATE
                                 DAMAGES/AVOIDABLE CONSEQUENCES

                  Under the doctrine of avoidable consequences, which is another name for
                  the failure to mitigate damages, defendant must prove that (1) the plaintiff
                  failed to take reasonable steps to minimize its damages, and (2) the
                  plaintiff’s damages occurred as a result of its failure to take reasonable
                  steps to minimize its damages. Borley Storage & Transfer Co. v. Whitted,
                  271 Neb. 84, 95, 710 N.W.2d 71, 80 (2006). Defendant is preserving its
                  right to contest Plaintiffs’ claims, or the claims of potential members of the
                  putative class, to the extent that the evidence establishes that these claims
                  are barred by the doctrine of avoidable consequences or failure to mitigate
                  damages.

                         5)      DEFENSE    SEVEN:   LACK    OF   PERSONAL
                                 JURISDICTION AND IMPROPER VENUE FOR CLAIMS
                                 OF PUTATIVE CLASS MEMBERS

                  Among other jurisdictional requirements, Plaintiffs must establish that the
                  Court has personal jurisdiction over Defendant as to the asserted claims and
                  that this Court is the proper venue to adjudicate those claims. A court has
                  personal jurisdiction over a defendant only when (1) the defendant’s
                  contacts are such that the defendant is essentially “at home” in the forum
                  state, Daimler AG v. Bauman, 134 S. Ct. 746, 760-61 (2014), or (2) the
                  claims at issue “arise out of or relate to the defendant’s contacts with the
                  forum.” Bristol-Myers Squibb Co. v. Superior Ct. of Cal., 137 S. Ct. 1773,
                  1780 (2017). Similarly, venue may be proper in the forum where the
                  defendant resides or where “a substantial part of the events or omissions
                  giving rise to the claim occurred.” 28 U.S.C. § 1391(b)(1)-(2).

                  Here, Defendant does not contest jurisdiction or venue as to the named
                  Plaintiffs’ claims but is preserving its right to contest jurisdiction or venue
                  as to the claims of potential members of the putative class. This Court, for
                  instance, would lack jurisdiction over, and would be the improper venue to
                  adjudicate, claims of putative class members that do not arise out of or
                  relate to Defendant’s contacts in Nebraska and that are not governed by an
                  agreement that requires the claims to be adjudicated in Nebraska.




(Rev. 6/9/11)

                                           -5-
  8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 6 of 14 - Page ID # 115




III.   SETTLEMENT:

       Counsel state:

                  X There have been no efforts taken yet to resolve this dispute.

                _____ This dispute has been the subject of efforts to resolve it

                        _____ prior to filing in court.

                        _____ after court filing, but before the filing of this report.

                        Those efforts consisted of
                        ___________________________________________________________.

                _____ Counsel have discussed the court’s Mediation Plan and its possible
                      application in this case with clients and opposing counsel.

                          X Mediation will be appropriate in this case at some point.

                        _____ Mediation will not be appropriate because ___________________.

                 X_     Counsel believe that with further efforts in the future, the case can be
                        settled. The parties will be prepared to discuss settlement, or again discuss
                        settlement, by sometime after the completion of briefing and argument on
                        Plaintiffs’ anticipated motion for class certification.

                        Explain. _________________________________________________.

IV.    CASE PROGRESSION:

                A.      Do any of the parties believe an initial planning conference would be
                beneficial and/or should be held before a final scheduling order is entered? At this
                time, the parties are not requesting a conference with the Court; however, if the
                Court believes an initial planning conference would be helpful, the parties are
                available at the Court’s convenience.

                B.     Mandatory disclosures required by Rule 26(a)(1), including a statement of
                how each matter disclosed relates to the elements of the disclosing party's claims
                or defenses

                _____ have been completed.

                  X     will be completed by November 30, 2017.
(Rev. 6/9/11)

                                                  -6-
  8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 7 of 14 - Page ID # 116




                C.   Motions to amend the pleadings or to add parties.

                            1)      The plaintiff

                     _____ does

                        X does not anticipate a need to amend pleadings or add parties at this
                     time; however, due to Defendant’s deceptive business practices, limited
                     information is available to Plaintiffs without the benefit of discovery. To
                     the extent the need arises, Plaintiff will seek leave to amend the pleadings
                     or add parties no later than February 14, 2018.

                            2)      The defendant

                     _____ does

                      X       does not anticipate need to amend pleadings or add parties. Any
                     motions to amend pleadings shall be filed by February 14, 2018.


                D.   Experts.

                             1)     If expert witnesses are expected to testify at the trial,
                     counsel agree to at least identify such experts, by name and address, (i.e.,
                     without the full reports required by Rule 26(a)(2)), by Plaintiffs on or
                     before May 15, 2018 and by Defendants on or before June 15, 2018. These
                     deadlines are only for experts expected to provide testimony (or a report) in
                     support of, or in opposition to, class certification. The parties propose to
                     address the schedule for additional expert testimony, if necessary,
                     following the Court’s ruling on Plaintiffs’ anticipated motion for class
                     certification.

                            2)      Experts and, unless otherwise agreed, expert reports in
                     support of class certification shall be served by Plaintiffs on June 29, 2018
                     and reports in opposition to class certification shall be served by Defendant
                     on August 10, 2018. Plaintiffs’ rebuttal reports shall be served by August
                     31, 2018.

                            3)      Motions to exclude expert testimony on Daubert and related
                     grounds for experts offering testimony or reports in support of, or in
                     opposition to, class certification will be filed and briefed in accordance
                     with the following schedule:

(Rev. 6/9/11)

                                             -7-
  8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 8 of 14 - Page ID # 117




                       Filing                                                 Date
                       Defendant’s motion to exclude expert testimony         November 1, 2018
                       submitted in support of motion for class
                       certification
                       Plaintiffs’ motion to exclude expert testimony         November 15, 2018
                       submitted in opposition to motion for class
                       certification
                       Plaintiffs’ response to motion to exclude expert       November 20, 2018
                       testimony submitted in support of motion for class
                       certification
                       Defendant’s response to motion to exclude expert       December 4, 2018
                       testimony submitted in opposition to motion for
                       class certification; Defendant’s reply for motion to
                       exclude expert testimony submitted in support of
                       motion for class certification
                       Plaintiffs’ Reply for motion to exclude expert         December 18, 2018
                       testimony submitted in opposition to motion for
                       class certification

                E.   Discovery.

                             1)       Written discovery under Rules 33 through 36 of the Federal
                     Rules of Civil Procedure will be completed by June 15, 2018. The parties
                     propose to address the schedule for additional written discovery, if
                     necessary, following the Court’s ruling on Plaintiffs’ anticipated motion for
                     class certification.

                             2)       Depositions, whether or not they are intended to be used at
                     trial, will be completed by October 1, 2018. The parties propose to address
                     the schedule for additional depositions, if necessary, following the Court’s
                     ruling on Plaintiffs’ anticipated motion for class certification.

                3)   Agreed Discovery Procedures:

                     a.    Unique Circumstances. The following facts or circumstances
                     unique to this case will make discovery more difficult or more time
                     consuming: ________________________________________________.

                     Counsel have agreed to the following actions to address that difficulty:
                     __________________________________________________________.

                     b.     Electronic Discovery Provisions:         Counsel have conferred
                     regarding the preservation of electronically produced and/or electronically

(Rev. 6/9/11)

                                              -8-
  8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 9 of 14 - Page ID # 118




                  stored information or data that may be relevant--whether privileged or not--
                  to the disposition of this dispute, including:

                         (i)     The extent to which disclosure of such data should be
                         limited to that which is available in the normal course of business,
                         or otherwise;

                         (ii)   The anticipated scope, cost, and time required for disclosure
                         of such information beyond that which is available in the normal
                         course of business;

                         (iii) The format and media agreed to by the parties for the
                         production of such data or information as well as agreed procedure
                         for such production;

                         (iv)   Whether reasonable measures have been implemented to
                         preserve such data;

                         (v)    The persons who are responsible for such preservation,
                         including any third parties who may have access to or control over
                         any such information;

                         (vi)    The form and method of notice of the duty to preserve;

                         (vii) Mechanisms for monitoring, certifying, or auditing custodial
                         compliance;

                         (viii) Whether preservation will require suspending or modifying
                         any routine business processes or procedures, records management
                         procedures and/or policies, or any procedures for the routine
                         destruction or recycling of data storage media;

                         (ix)   Methods to preserve any potentially discoverable materials
                         such as voice mail, active data in databases, or electronic messages;

                         (x)    The anticipated costs of preserving these materials and how
                         such costs should be allocated; and

                         (xi)    The entry of and procedure for modifying the preservation
                         order as the case proceeds.

                  The parties agree that:



(Rev. 6/9/11)

                                            -9-
 8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 10 of 14 - Page ID # 119




                 _____ No special provisions are needed in respect to electronic discovery.
                       The court should order protection and production of such
                       information in accordance with its usual practice.

                 X       As to electronically stored information, the following provisions
                 will be followed by the parties: The parties are in the process of preparing
                 an ESI Protocol with consultation with the Court on any terms that cannot
                 be agreed to by the parties.

                               c.      Privileged and/or confidential communications and
                        information.

                        General practice: Under the court’s general practice, if any
                        document is withheld from production or disclosure on the grounds
                        of privilege or work product, the producing party shall, for each
                        document, disclose a description of the document withheld with as
                        much specificity as is practicable without disclosing its contents,
                        including (a) the general nature of the document; (b) the identity
                        and position of its author; (c) the date it was written; (d) the identity
                        and position of its addressee; (e) the identities and positions of all
                        persons who were given or have received copies of it and the dates
                        copies were received by them; (f) the document's present location
                        and the identity and position of its custodian; and (g) the specific
                        reason or reasons why it has been withheld from production or
                        disclosure. The non-producing party may move to compel
                        documents identified on the privilege log. The producing party may
                        also seek a protective order to preserve the privilege or
                        confidentiality of the documents identified.

                        Special provisions.        To facilitate an early, efficient, and
                        expeditious resolution of discovery issues which may arise related
                        to documents withheld on the basis of alleged privilege or
                        confidentiality, the parties shall discuss and consider:

                        (i)     Whether the parties anticipate discovery issues or challenges
                        arising from non-disclosure of allegedly confidential information;

                        (ii)   Whether reasonable date ranges should be established after
                        which privilege log entries for privileged or confidential
                        information need not be made; and

                        (iii) As contemplated by Rule 502(e) of the Federal Rules of
                        Evidence, the need for and terms of any agreement regarding
                        disclosure of privileged attorney-client communications or

(Rev. 6/9/11)

                                         -10-
 8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 11 of 14 - Page ID # 120




                                confidential work product, and whether the parties will seek court
                                approval of any such agreement.

                       The parties agree that:

                       _____ No special provisions are needed regarding discovery of allegedly
                             confidential information. If such issues arise, they will be resolved
                             in accordance with the court’s general practice.

                            X   In addition to, or in lieu of the court’s general practice for asserting
                                confidentiality and privilege claims and resolving disputes over
                                nondisclosure of allegedly confidential or privileged information,
                                the parties agree the following provisions will be followed: The
                                parties are in the process of drafting a stipulated protective order
                                and an ESI Protocol to govern the treatment of confidential or
                                privileged information in this proceeding.

                       d.    The maximum number of interrogatories, including sub-parts, that
                       may be served by any party on any other party is 25 .

                       e.      The maximum number of depositions that may be taken by the
                       plaintiffs as a group and the defendants as a group is 10 .

                       f.    Depositions will be limited by Rule 30(d)(1), except the depositions
                       of _____________, which by agreement shall be limited as follows:
                       ____________________________________________________.

                       g.      The parties stipulate that they will be required to give at least 7
                       days' notice of their intention to serve records/documents or subpoenas on
                       third parties prior to issuance. See NECivR 45.1

                       h.       Other special discovery provisions agreed to by the parties include:

                       Document productions substantially completed by June 25, 2018
                       Motion for Class Certification filed by October 1, 2018
                       Response to Motion for Class Certification filed by November 1, 2018
                       Reply for Motion for Class Certification filed by November 15, 2018

                F.      The following claims and/or defenses may be appropriate for disposition by
                dispositive motion (motion to dismiss or for summary judgment or partial
                summary judgment): ________________________________________________.
                Motions to dismiss and/or for summary judgment will be filed by: a date to be
                determined following the Court’s ruling on Plaintiffs’ anticipated motion for class
                certification.
(Rev. 6/9/11)

                                                 -11-
 8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 12 of 14 - Page ID # 121




                G.       Other matters to which the parties stipulate and/or which the court should
                know or consider: the parties propose to address the schedule for further
                proceedings, including pre-trial filings, and trial, following the Court’s ruling on
                Plaintiffs’ anticipated motion for class certification. Given that the scope and
                nature of this case would substantially change depending on whether or not a class
                is certified, the parties believe that this proposal best serves to preserve the
                parties’, and the Court’s, time and resources.

                H.     Consent to Trial Before Magistrate Judge.

                In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, the
                parties in this case may voluntarily consent to have a United States Magistrate
                Judge conduct any and all further proceedings in the case, including the trial, and
                order the entry of final judgment. The consent must be unanimous, and any appeal
                must be taken to the United States Court of Appeals. If the parties do not presently
                consent, they may do so at a later time and the case will remain with the assigned
                United States District Judge or, if not previously assigned, will be randomly
                assigned to a United States District Judge.

                _____ All parties hereby voluntarily consent to have the United States Magistrate
                Judge conduct any and all further proceedings in this case including the trial, and
                order the entry of final judgment.

                __X_ All parties do not consent at this time.

                I.     Trial date.

                1)     Jury Trial:

                       a.      _____ No party has timely demanded a jury trial.

                       b.           A party has timely demanded a jury trial and does not
                       anticipate waiving that demand, and the parties agree that all or part of the
                       claims in this case must be tried to a jury.

                       c.      ___X__ A party has demanded a jury trial, and the parties disagree
                       on whether trial by jury is available in this case. A motion to strike the
                       Plaintiffs’ demand for jury trial will be filed no later than a date to be
                       determined following the Court’s ruling on Plaintiffs’ anticipated motion
                       for class certification.

                       d.     _____ Having previously demanded a jury trial, the plaintiff now
                       waives jury trial. The defendant will file a demand for jury trial within


(Rev. 6/9/11)

                                               -12-
 8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 13 of 14 - Page ID # 122




                       _____ days of the filing of this report, in the absence of which jury trial
                       will be deemed to have been waived.

                       e.      _____ Having previously demanded a jury trial, the defendant now
                       waives jury trial. The plaintiff will file a demand for jury trial within
                       _____ days of the filing of this report, in the absence of which jury trial
                       will be deemed to have been waived.

                2)      This case will be ready for trial before the court by: a date to be
                determined following the Court’s ruling on Plaintiffs’ anticipated motion for class
                certification. If more than eight months are required, state the special problems or
                circumstances that necessitate that much time for trial preparation.

                3)      The estimated length of trial is to be determined following the Court’s
                ruling on Plaintiffs’ anticipated motion for class certification.




(Rev. 6/9/11)

                                               -13-
 8:17-cv-00310-JFB-CRZ Doc # 19 Filed: 11/16/17 Page 14 of 14 - Page ID # 123




Dated: November 16, 2017

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(Rev. 6/9/11)

                                     -14-
